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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                )
 BARBARA KURZMANN,                              )
                                                )
                 Plaintiff,                     )              No. 2:21-cv-00766-KSM
                                                )
        v.                                      )
                                                )
 HATBORO FEDERAL SAVINGS,                       )              CIVIL ACTION – LAW
                                                )
                 Defendant.                     )
                                                )

               STATEMENT OF UNDISPUTED FACTS IN SUPPORT OF
             PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

       NOW COMES, Plaintiff Barbara Kurzmann, by and through her undersigned counsel,

who, in support of her motion for partial summary judgment, hereby submits the following

statement of undisputed facts.

       1.       Plaintiff asserted in Count I of her complaint a cause of action for retaliatory

discharge under the ADA. Doc. 1, ¶¶ 24-33.

       2.       In its Answer and Amended Answer to Plaintiff’s Complaint, Defendant alleged, as

its Sixth Affirmative Defense, that “Plaintiff has failed to mitigate her alleged damages.” Doc. 7-

8, p. 5, ¶ 6.

       3.       At the time of her discharge from Defendant on August 17, 2016, Plaintiff was

employed by Defendant as the Branch Manager of Defendant’s Warminster branch. Doc. 1, ¶ 5;

Doc. 7, ¶ 5; Doc. 8, ¶ 5.

       4.       During the discovery period, Defendant did not produce any documentary or

testimonial evidence that jobs with virtually identical promotional opportunities, compensation,

job responsibilities, and status as Plaintiff’s prior Branch Manager position were available to

Plaintiff between August 17, 2016 and the present.
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       5.      Defendant produced an opening report from a purported vocational and wage loss

expert, John W. Dieckman, dated September 14, 2021. Ex. A – 09/14/2021 Report of John

W. Dieckman, MS, CRC, CDCMS.

       6.      Defendant also produced a rebuttal report from Mr. Dieckman dated November

22, 2021. Ex. B – 11/22/2021 Report of John W. Dieckman, MS, CRC, CDCMS.

       7.      Neither of Mr. Dieckman’s reports contains any evidence that jobs with virtually

identical promotional opportunities, compensation, job responsibilities, and status as Plaintiff’s

prior Branch Manager position were available to Plaintiff between August 17, 2016 and the

present. See generally Ex. A and B.

       8.      Since her discharge from Defendant on August 17, 2016, Plaintiff held the following

jobs: (1) a full-time Teller at Univest Bank from March 2017 to November 2017; (2) a part-time

Cashier at Giant Food Stores, LLC from June 2018 to April 2019; (3) a part-time Receptionist at

Willow Landscaping, Inc. from June 2018 to March 2019; and (4) a part-time Administrative

Assistant at Toto Financial from April 2019 to September 2019. Ex. C – Deposition of Barbara

Kurzmann, 224:7-14; 230:7-16; 236:7-240:9; Ex. D – Resume of Barbara Kurzmann

(Kurzmann 0645-0647).

       9.      Since December 2019, Plaintiff has sought job opportunities online through

Indeed and has taken classes at CareerLink. Plaintiff continues to seek out job opportunities

through Indeed as of August 2, 2021. Ex. E – Deposition of Barbara Kurzmann, 225:10-

17.

       10.     In 2020, Plaintiff applied for multiple jobs, but had a difficult time finding job

opportunities due to the COVID-19 pandemic. In 2021, Plaintiff applied for approximately six (6)

jobs, including a receptionist at a veterinarian’s office, a position with Wesley’s Enhanced

Nursing, and a couple work-from-home and customer service positions. Ex. F – Deposition of

Barbara Kurzmann, 225:18-226:14; 228:3-19; 229:7-17; 230:1-6.




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       11.    In addition, Plaintiff underwent numerous employment assessments and skill tests

through Indeed between October 2019 and March 2020 to determine whether she had the skills

to succeed in certain positions, such as customer service, administrative assistant, and law firm

intake specialist. Ex. D, Kurzmann 0646-0647.



                                                    Respectfully Submitted,

                                                    MANSOUR LAW, LLC

Date: January 4, 2022                       BY:     /s/ William P. Mansour
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